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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.

  UNITED STATES OF AMERICA,

                Plaintiff,

  V.

  1.     ALL USDT SEIZED FROM BINANCE ACCOUNT 131539601 HELD IN THE
         NAME OF JIANG HAIAN;

                Defendant.


                     VERIFIED COMPLAINT FOR FORFEITURE IN REM




         The United States of America, ("the United States") by and through Acting United

  States Attorney Matthew T. Kirsch and Assistant United States Attorney Tonya S.

  Andrews, pursuant to Supplemental Rules for Admiralty or Maritime Claims and

  Asset Forfeiture Actions G(2), states:

                               JURISDICTION AND VENUE

         1.     The United States of America ("the United States") has commenced this

  action pursuant to the civil forfeiture provisions of 18 U.S.C. §981(a)(1)(C), seeking

  forfeiture of the defendant asset as proceeds traceable to one or more violations of 18

  U.S.C. §1343. In addition, the United States has also commenced this action pursuant

  to the civil forfeiture provisions of 18 U.S.C. §981(a)(1)(A), seeking forfeiture of the

  defendant property involved in violations of 18 U.S.C. §§1956 and 1957, or property

  traceable thereto.


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          2.     This Court has jurisdiction under 28 U.S.C. §§ 1345 and 1355. Venue is

   proper 28 U.S.C. § 1395, as the defendant property is located, and the acts described

   herein occurred in the District of Colorado.

                                    DEFENDANT PROPERTY
          3.     Defendant property is more fully described as:

                     All USDT seized from Binance account 131539601 Jiang Haian,

                     totaling approximately 699453.159597 USDT ("defendant

                     699453.159597     USDT"), seized on October 11,2023, which is

                     currently in the custody of the Federal Bureau of Investigation.

   CRYPTOCURRENCYTERMS

          4.     Cryptocurrency (also known as digital currency or virtual currency) are

   digital tokens of value circulated over the Internet as substitutes for traditional fiat

   currency. Cryptocurrency is not issued by a government or bank like traditional fiat

  currencies such as the U.S. dollar but are generated and controlled through computer

  software.

          5.     Bitcoin ("BTC"), Ethereum ("ETH") or "ether"), Tether ("USDT"), and USD

  Coin ("USDC") are types of cryptocurrencies.        Bitcoin is the most well-known virtual

  currency in use. Payments made with these cryptocurrencies are recorded in a public

  ledger that is maintained by peer-to-peer verification (i.e., a "blockchain") and is, thus,

  not maintained by a single administrator or entity.

          6.     USDT and USDC are blockchain-based cryptocurrency whose tokens in

  circulation are backed by an equivalent amount of U.S. dollars, making it what is known

  as a "stablecoin." Individuals can acquire USDT and USDC through exchanges (i.e.,



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   online companies which allow individuals to purchase, sell or exchange

   cryptocurrencies for fiat currencies or other cryptocurrencies),   or directly from other

   addresses which are controlled by an individual/entity.

          7.     Virtual currency addresses are the particular virtual locations to which

   such currencies are sent and received. A virtual currency address is analogous to a

   bank account number and is represented by a string of alphanumeric characters.

          8.     Each virtual currency address is controlled through the use of a unique

   corresponding private key, a cryptographic equivalent of a password needed to access

  the address. Only the holder of an address's private key can authorize a transfer of

   virtual currency from that address to another address.

          9.     A virtual currency wallet is a software application that interfaces with the

  virtual currency's specific blockchain and generates and stores a user's addresses and

   private keys. A virtual currency wallet also allows users to send and receive virtual

  currencies. Multiple addresses can be stored in a wallet.

          10.    Wallets can be hosted (custodial or un-hosted (non-custodial or cold

  storage/self-custody).   A hosted or custodial wallet is a wallet managed by a third party,

  such as a cryptocurrency exchange. The custodian stores and manages the private

  keys, keeping funds secure even if a user forgets their password. An un-hosted or non-

  custodial wallet, also known as cold storage or self-custody wallets, allows the user to

  maintain a cryptocurrency balance outside of an exchange. A Defi wallet is a type of

  non-custodial wallet that allows users to interact with decentralized applications and

  stores cryptocurrency assets. imToken is another example of an un-hosted wallet that




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   manages assets across multiple blockchains. With an un-hosted or non-custodial wallet,

   losing the private key is synonymous with losing access to the cryptocurrencies.

          11.    Many virtual currencies publicly record all of their transactions on a

   "blockchain." The blockchain is essentially a distributed public ledger, run by a

   decentralized network, containing an immutable and historical record of every

  transaction utilizing that blockchain's technology. The blockchain can be updated

   multiple times per hour and record every virtual currency address that ever received that

  virtual currency. It also maintains records of every transaction and all the known

   balances for each virtual currency address. There are different blockchains for different

  types of virtual currencies.

          12.   Although the identity of an address owner is generally anonymous (unless

  the owner opts to make the information publicly available), analysis of the blockchain

  can often be used to identify the owner of a particular address. The analysis can also, in

  some instances, reveal additional addresses controlled by the same individual or entity.

          13.   Cryptocurrency exchanges are companies that exchange Bitcoin and

  other cryptocurrencies, for other currencies, including fiat and maintain a user's private

  keys. Cryptocurrency exchanges can either be centralized or decentralized. Binance

  and Tokenlon are examples of exchanges. Binance is the largest centralized exchange

  in the world, and allows users to deposit, withdraw and exchange cryptocurrencies for

  other cryptocurrencies or fiat. Tokenlon is a decentralized exchange and payment

  settlement protocol that provides token-to-token exchange. According to the

  Department of Treasury, Financial Crimes Enforcement Network ("FinCEN") Guidance

  issued on March 18, 2013, virtual currency administrators and exchangers, including an



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   individual exchanger operating as a business, are considered money services

   businesses.   Such exchanges are required to register with FinCEN and have proper

   state licenses (if required under applicable state law).

                                        FRAUD SCHEME

          14.    In July 2023, the Denver Division of the FBI received a fraud report from

   T.v., residing in Centennial, Colorado and began an investigation into a fraudulent

   investment platform.

          15.    T.V. reported they had received a wrong number phone call from Mary

   Davis ("Davis") in February 2023. Davis did not speak English as a first language and

   requested to move the conversation to Telegram and later WhatsApp to assist with

  translation. She provided WhatsApp number 978-315-2444. They befriended and

  discussed personal information such as their respective marital status and children. T.v.

  stated that they donated to a charitable project to give aid to poor children in Vietnam.

   Davis offered to raise money with T.v. Davis said she had a friend named Ed, who

   purportedly ran a California-based   cryptocurrency exchange. Ed was said to run a team

  of analysts at the stock exchange that were able to plan cryptocurrency future trades

  that resulted in guaranteed profit every time.

          16.    T.V. was offered an opportunity to join the investment, through a

  decentralized finance investment platform called Bullish, which promised low risk

  cryptocurrency investments that guaranteed a high rate of return. T.V. was interested in

  investing in cryptocurrency to use the profits to support their philanthropic pursuits.

          17.    On or around February 16, 2022, Davis introduced T.v. to the investment

  platform known as Bullish. Davis claimed that Bullish offered her substantial returns on



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   investing in cryptocurrency futures contracts and encouraged T.v. to participate and

   invest with her on the platform. Davis walked T.v. through the process of downloading

   the Bullish application on their phone and setting up an account. Davis assisted T.v. in

   downloading the applications for Crypto.com and Crypto.com defi wallet. She also

   assisted T.v. with linking their bank account to the Crypto.com account.

          18.    On February 23, 2023, T.v. made their initial investment into Bullish, a

  transfer of 4,990.00 USDC from T.v.'s Crypto.com account to USDC address

   Oxc88D2bb9c7f80928eODc31732219440b48DD             11Ba ("Bullish Address 1").

          19.    Following the initial investment, T.v. was able to view their fictitious

   "earnings" from their initial investment on the Bullish platform, which amounted to just

  over 20% in gains on the investment. Davis promised to match investments into Bullish.

  This induced T.v. to begin making additional investments from their Crypto.com

  account.

         20.     Between February 23, 2023, and April 28, 2023, T.v. conducted nine

  investment transactions, totaling approximately $949,290 USD from their account at

  Crypto.com.

         21.    After T.v.'s nine transfers from Crypto.com to Bullish addresses as

  described in detail below, Crypto.com closed T.V.'s account due to suspicious activity.

         22.     Davis then assisted T.v. in opening another exchange account at

  Kraken.com and an imToken wallet to continue investing. Between May 26,2023 and

  June 5, 2023, T.v. conducted an additional two investment transactions, totaling

  approximately $982,052 USD from their imToken wallet, which was linked to their

  Kraken.com exchange account.



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            23.   In total, from February to June 2023, TV. transferred approximately $2.1

   million from their bank accounts to various cryptocurrency exchanges. They liquidated

  their 401 k, cashed in investment accounts, and borrowed funds from friends and family.

            24.   In summer of 2023, TV. received a notification from Bullish that their

  account was locked for "malicious arbitrage" and fined $1.5 million. If they didn't pay

  within 2 weeks, the account would be closed and the funds would be turned over to the

   regulatory authority. TV. learned that Bullish was a scam website and did not pay the

  fines. They then reported the fraud to the Denver FBI.

                                        INVESTIGATION

            25.   Review of the blockchain and available records indicates that individuals

  conspiring with Davis subsequently laundered the proceeds of the scheme through

  cryptocurrency addresses before interacting with international cryptocurrency

  exchanges.

            26.   The above-described   interaction between T.V. and the perpetrators is

  known as "Pig Butchering." On December 13, 2022, the Financial Industry Regulatory

  Authority (FINRA) published an investor insight warning about Pig Butchering; "Named

  in reference to the practice of fattening a pig before slaughter, these scams often

  involve fraudsters contacting targets seemingly at random, then gaining trust before

  ultimately manipulating their targets into phony investment and disappearing with the

  funds."

            27.   From February 2023 to June 2023, T.V. invested a total of approximately

  $2,100,000 through the following transfers:




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   Transfer 1   February    Approximately 4,990.00 USDC to Bullish Address 1

                23,2023

   Transfer 2   March 7,    Approximately 223,900.00 USDC to Bullish Address 1

                2023

   Transfer 3   March 13,   Approximately 199,990.00 USDT to USDT Address

                2023        Ox1D87Fa88Ac6913C6DC3343b281008b18754F290b

                            ("Bullish Address 2")

   Transfer 4   March 15,   Approximately 67,983.33 USDT to Bullish Address 2

                2023

   Transfer 5   April 1,    Approximately 87,629.42 USDT to Bullish Address 2

                2023

   Transfer 6   April 5,    Approximately 71,900.00 USDT to Bullish Address 2

                2023

   Transfer 7   April 13,   Approximately 149,900.00 USDT to Bullish Address 2

                2023

   Transfer 8   April 25,   Approximately 107,700.00 USDT to Bullish Address 2

                2023

   Transfer 9   April 28,   Approximately 35,208.39 USDT to Bullish Address 2

                2023

   Transfer     May 31,     Approximately 360,692.7445 USDT to USDT Address

   10           2023        Ox22704A7C460Ae30de20724048b284ca196Cb1a56

                            ("Bullish Address 3")




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    Transfer              June 5,                  Approximately 621,360.5228 USDT to Bullish Address

    11                    2023                     3




         28.              The illustration below demonstrates the general movement of TV.'s funds

  from TV.'s controlled exchange accounts and imToken wallet to Bullish addresses.




                                                                                                      ~Xc88D2bb
                                                                                                                          o
                                                                                    ___________               Bull~h Address #1
                                                            02/23/2023'03/7/2023
                                                                228,800.00 USDC                                                         Total USDCReceived:
                                                                                                                                          949,111.14 USDC


                                 ~3/2023.04/28/2023
                                                                720,311.14 USDT--------·
                                                                                                                          0
               Victim· Crypto.com Account
                                                                                                                       OxlD87Fa88
                                                                                                                   8ullish Address #2




                                    _~0=5/=26/2023·06/05.~/2=02~3
                                                982,052 USDT
                                                                     -_I     0    ~1/2023·06/05/2..!l.ll........
                                                                                         982,053.27 USDT
                                                                                                                          0             Total USDTReceived:
                                                                                                                                          982,053.27 USDT
                 Victim   - Kraken.com   Account
                                                                    Victim· imToken Wallet                            Ox22704A7C
                                                                                                                   Bullish Address #3




                                                                            Seizure

         29.              As described below, the FBI traced a portion of funds sent by TV. to the

   Bullish wallet addresses to Binance account 131539601 held in the name of Jiang




         30.              On November 11, 2023, the FBI executed a seizure warrant for all

  cryptocurrency and fiat currency in Binance account 131539601 held in the name of




                                             BLOCKCHAIN ANALYSIS OF T.V'S FUNDS
                                                   TO DEFENDANT                 CRYPTOCURRENCY



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           31.   T.V. conducted two transfers on the blockchain from their Kraken.com

   wallet to their imToken wallet, totaling approximately 360,592.74 USDT: May 26,2023,

   for 69,357.5978 USDT, and May 30,2023, for 291,335.1467 USDT.

           32.   On May 31, 2023, Victim sent 360,692.74 USDT from their imToken wallet

   to Bullish Address 3 (Transfer 10 above). On the same day, Bullish Address 3

   conducted two transfers: 60,693.00 USDT to an address beginning with OxAac2d and

   one minute later sent 300,000.00 USDT to an address beginning with Ox408A8. On

   June 4, 2023, the address beginning with OxAac2d sent 400,000.00 USDT to an

   address beginning with Ox31BBf (Layering Address #1). On the same day, the address

   beginning with Ox408A8 sent 300,000.00 USDT to Layering Address #1.

           33.   On June 4, 2023, Layering Address #1 transferred 499,000.00 USDT to

   an address beginning with Ox8cf32 (Layering Address #2). On the same day, Layering

   Address #2 sent a total of approximately 499,998.00 USDT to an address beginning

   with OxBc266 (Layering Address #3). Minutes later, Layering Address #3 transferred a

   total of approximately 499,998.00 USDT to an address beginning with Ox45265

   (Layering Address #4).

           34.   On June 5,2023, Layering Address #4 transferred 400,641.00 USDT to

   an address beginning with Ox8E719 (Layering Address #5). Minutes later, Layering

   Address #5 transferred the 400,641.00 USDT to an address beginning with Ox5CEC2

   (Layering Address #6). All of TV's 360,682.74 USDC was part of the above described

   transfers.

          35.    Layering Address #6 interacted with Tokenlon.im, a decentralized

   exchange and payment settlement protocol that allows users to convert from one



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   cryptocurrency to another. On the same day, June 5, 2024, a total of 200,000.00 USDT

   was converted to 199,948.1997 DAI. The 199,948.1997 DAI was then deposited into

   Layering Address #6. On June 6,2023, Layering Address #6 interacted with

   Tokenlon.im and converted 424,833.00 DAI to 424,515.8058 USDT and 424,515.8058

   USDT was deposited back into Layering Address #6.

           36.   Later on June 6, 2023, Layering Address #6 sent 500,000.00 USDT to an

   address beginning with Ox9601 c (Layering Address #7). On the same day, Address

   Layering Address #7 transferred 700,000.00 USDT to an address beginning with

   Ox030B4 (Layering Address #8).

           37.   Layering Address #8 did not conduct any transactions until June 9, 2023.

   On June 9, 2023, Layering Address #8 transferred 700,000.00 USDT to an address

   beginning with Ox3A8Ef (Layering Address #9). On June 16, 2023, Layering Address #9

   transferred 500,010.00 USDT to an address beginning with Ox29047 (Layering Address

   #10).

           38.   On the next day, June 17, 2023, Layering Address #10 transferred

   500,010.00 USDT to an address beginning with Ox69487, which is held in an account at

   Binance as illustrated below. The 500,010.00 USDT was deposited into the user's

   Binance Earn account, which has accumulated approximately 1,192.27 USDT in

   interest.

           39.   On July 12, 2023, Binance froze the account.




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                            40.           As seen in the diagram below, the victim's funds were laundered through

                   several layering addresses and accounts before returning to Jiang Haian's Binance

                   account. The Binance account where the victim funds were deposited represent an

                   account that was used to launder the proceeds of the criminal activity.



'(dim . Krakon.comAccount



            I
  5/26/2023 . 5/3fJ/2023                                                o
                                                                   AddressOxAac2d
     360,592.74USOT
                                              05/31/2023
                                               60,693.00                               06/04/2023
                                         /USDT                                         400,000.00

                                    o                 05/31/2023
                                                                                          USOl

                                                                                                                    06/04/2023     0            06/04/2023          0      06/04/2023                0
 ,(Jctim.imTok<nWall<t
                                                      300,000.00           _          06/04/2023
                                                                                300,000.00             O    --499,000.00                --499,998.00--             --499,998.00--
                                0.22104AIC
                             IkJllishAddress'3
                                                        USDT
                                                                        0
                                                                   Addres, o.408A8
                                                                                         USDT    lav<ringAddress'I
                                                                                                       0.31881
                                                                                                                       U5DT lay<ringAddress'2
                                                                                                                                  0.8cf32
                                                                                                                                                   USDT lay<ringAdd",ss'3
                                                                                                                                                             0xIIc266
                                                                                                                                                                              USDT lay<ringAdd•••• '4
                                                                                                                                                                                         0.45265

                                                                                                                                                                                                       I
                                                                                                                                                                                                06/05/2023
                                                                                                                                                                                                400,641.00
                                                                                                                                                                                                   USDT


                                                         06/16/2023     0 --100,000.00--
                                                                                   06/09/2023     0 --700,000.00
                                                                                                             06/06/2023--0              06/06/2023-0                06/05/2023      0
                                              O
                                      lay<ringAddres,.10
                                                         500,010.00--
                                                            USDT lay<ringAddress.9    USDT lay<ringAddress.8    USDT Lay.ringAddres. II
                                                                                                                                        500,000.00
                                                                                                                                           USDT lay.ring Add,•• ,,6
                                                                                                                                                                    400,461.00--
                                                                                                                                                                       USOT lay.ring Add•••• '5
                                             Ox29041                         OxlA8£1                     0.030114                      Ox960lc                      0.5(£(2                         0.8£119

                                                  I
                                           06/17/2023
                                           500,010.00
                                                                                                                                                06/06/2023
                                                                                                                                               424,833.00OAi
                                                                                                                                                <onv<rltdto
                                                                                                                                                                I               06/05/2023
                                                                                                                                                                              200,000.00USDT
                                                                                                                                                                                <onv.rltdto
                                                                                                                                                                                                I
                                              USOT                                                                                           424,515.8058USCT                 199,948.19970Al

                                                 ,.
                                                 ••
                                       JiangHaian(;1;t'i)
                                         SUbj<dAccount
                                                                                                                                                                Tokenlon.im

                                           Binantlt:com




                            41.          Binance provided information for the account. The account is held in the

                  name of Jiang Haian, a 36-year-old citizen of the People's Republic of China. The

                  account was opened on April 22, 2021. The first transaction in the account occurred on

                  or about February 13, 2022.

                            42.          Between February 13, 2022 and June 17, 2023, the account received

                  approximately $1,259,877.38 in various cryptocurrencies in approximately 206

                  transactions. Transactions in the account appear to follow a similar pattern: funds are


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   typically deposited in ETH or USDT, almost immediately sent to the user's Binance Earn

   account, which is a flexible saving product at Binance where users can earn interest on

   deposits of cryptocurrency into this account, or converted to USDT and withdrawn from

   the account.

          43.     At the time of seizure, Binance account 131539601 held in the name of

   Jiang Haian (5I;m~) held 699453.159597 USDT.


          44.     As set forth above, at least 360,693.00 USDT is derived from USDT

   directly traceable to TV.

          45.     The use of multiple "layering addresses" for the fund deposits, coin

   swapping services, rapid deposits and withdrawals with a high volume of transactions,

   and transfer to international exchanges are typical indicators of money laundering

   activity on the blockchain.

          46.     In this instance, the Binance account was used to receive funds derived

   from the Bullish scheme with several levels of transactions between the victim and

   Binance Account, which appear to lack any ostensible business purpose. The number

   of hops and unnecessary transfers establishes probable cause to believe that the

   transfers were meant to obscure the control, ownership, source, and purpose of the

   funds involved in said transfers.

          47.     Accordingly, the defendant asset constitutes or was derived from

   proceeds of wire fraud, and constitute property involved in money laundering

   transactions, and are therefore forfeitable to the United States pursuant to 18 U.S.C. §§

   981 (a)(1 )(A) and (C).




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                           VERIFICATION      OF DANIEL HEETHER

                   SPECIAL AGENT, FEDERAL BUREAU OF INVESTIGATION


          I, Special Agent Daniel Heether, hereby state and aver under the pains and

   penalties of perjury that I have read the foregoing Factual Basis for Forfeiture and that

   the facts and information contained therein are true.




                                                    Daniel Heether
                                                    Special Agent - FBI




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                                  FIRST CLAIM FOR RELIEF

         48.     The Plaintiff repeats and incorporates by reference each of the

   paragraphs above.

         49.     By the foregoing and other acts, defendant 699453.159597 USDT

   constitutes property involved in violation of 18 U.S.C. §§ 1956 and 1957, or property

   traceable to such property, and is therefore forfeitable to the United States pursuant to

   18 U.S.C. § 981(a)(1)(A).

                                SECOND CLAIM FOR RELIEF

          50.    The Plaintiff repeats and incorporates by reference each of the

   paragraphs above.

         51.     By the foregoing and other acts, defendant 699453.159597 USDT

   constitutes or was derived from proceeds traceable to violations of wire fraud in violation

   of 18 U.S.C. § 1343, and is therefore forfeitable to the United States pursuant to 18

   U.S.C. § 981(a)(1)(C).

         WHEREFORE, the United States prays for entry of a final order of forfeiture for

   the defendant assets in favor of the United States, that the United States be authorized

   to dispose of the defendant asset in accordance with law, and that the Court enter a

   finding of probable cause for the seizure of the defendant asset and issue a Certificate

   of Reasonable Cause pursuant to 28 U.S.C. § 2465.

         DATED this 20th day of August 2024.




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                                             Respectfully submitted,

                                             MATTHEW T. KIRSCH
                                             Acting United States Attorney

                                       By: slTonya S. Andrews
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